                 Case 23-11131-TMH                Doc 1173       Filed 01/22/24         Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                      Debtors.1                        (Jointly Administered)



                NOTICE OF FILING OF PROPOSED CONFIRMATION ORDER

          PLEASE TAKE NOTICE that on January 22, 2024, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the Third Amended Joint Chapter 11 plan

of Reorganization of Amyris, Inc. and Its Affiliated Debtors [Docket No. 1170] (the “Plan”) with

the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

          PLEASE TAKE FURTHER NOTICE that the hearing to consider confirmation of the

Plan (the “Confirmation Hearing”) will be held before the Honorable Thomas M. Horan at the

United States Bankruptcy Court, 824 Market Street, 5th Floor, Courtroom No. 5, Wilmington,

Delaware 19801 on January 24, 2024, at 10:00 a.m., Prevailing Eastern Time.

          PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is the proposed

Order Confirming Third Amended Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and

Its Affiliated Debtors (the “Proposed Confirmation Order”). The Debtors reserve the right to

materially alter, amend, or modify the Proposed Confirmation Order at any time prior to the

Confirmation Hearing. The Debtors intend to present a form of the Proposed Confirmation Order



1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal place
    of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100, Emeryville,
    CA 94608.
                 Case 23-11131-TMH   Doc 1173    Filed 01/22/24    Page 2 of 2




(subject to any modifications and/or amendments) to the Bankruptcy Court at the Confirmation

Hearing.


 Dated: January 22, 2024                      PACHULSKI STANG ZIEHL & JONES LLP

                                              /s/ James E. O’Neill
                                              Richard M. Pachulski (admitted pro hac vice)
                                              Debra I. Grassgreen (admitted pro hac vice)
                                              Alan J. Kornfeld (admitted pro hac vice)
                                              James E. O’Neill (DE Bar No. 4042)
                                              Steven W. Golden (DE Bar No. 6807)
                                              919 N. Market Street, 17th Floor
                                              P.O. Box 8705
                                              Wilmington, DE 19899-8705 (Courier 19801)
                                              Telephone: (302) 652-4100
                                              Facsimile: (302) 652-4400
                                              rpachulski@pszjlaw.com
                                              dgrassgreen@pszjlaw.com
                                              akornfeld@pszjlaw.com
                                              joneill@pszjlaw.com
                                              sgolden@pszjlaw.com

                                              Counsel to the Debtors and Debtors in Possession




DE:4860-1375-8367.1 03703.004                2
